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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    TINTRI, INC.,                                                   Case No. 18-11625 (KJC)

                        Debtor.1




    TINTRI, INC.

                        Plaintiff,

         v.                                                         Adv. No. 18-50927 (KJC)

    DASHER TECHNOLOGIES, INC.,

                        Defendant.



        CERTIFICATION OF COUNSEL REQUESTING ENTRY OF ORDER
    APPROVING STIPULATION DISMISSING COMPLAINT WITHOUT PREJUDICE

                  The undersigned counsel for the above captioned debtors and debtors in

possession (the "Debtors") hereby certifies as follows:

                  1.        On October 22, 2018, the Debtor filed a Complaint for Breach of Written

Contract and Turnover against Dasher Technologies, Inc. (the “Complaint”) [Docket No. 1].

                  2.        On November 21, 2018, the parties entered in that certain Stipulation for

Extension of Time for Defendant to Answer, Move or Otherwise Respond to the Complaint

[Docket No. 5].




1    The last four digits of the Debtor’s federal taxpayer identification number are 6978. The Debtor’s service address
     is: 75 State Street, 18th Floor, Suite 1805, Boston, MA 02109.


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                  3.        The parties have been engaged in informal discussions and have agreed to

dismiss the Complaint and have entered into a Stipulation Dismissing Complaint Without

Prejudice (the “Stipulation”).

                  4.        A proposed form of order approving the Stipulation is attached hereto as

Exhibit A. A copy of the Stipulation is attached to the proposed form of order as Exhibit 1.

                  5.        Accordingly, the Parties respectfully request entry of the Proposed Order

at the Court’s earliest convenience.


 Dated: December 18, 2018                         PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ Colin R. Robinson
                                                  Richard M. Pachulski (CA Bar No. 90073)
                                                  James I. Stang (CA Bar No. 94435)
                                                  Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                  Bradford J. Sandler (DE Bar No. 4142)
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                                                  Counsel for the Official Committee of Unsecured
                                                  Creditors




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                                       EXHIBIT A




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    TINTRI, INC.,                                                   Case No. 18-11625 (KJC)

                        Debtor.1




    TINTRI, INC.

                        Plaintiff,

         v.                                                         Adv. No. 18-50927 (KJC)

    DASHER TECHNOLOGIES, INC.,

                        Defendant.


                             ORDER APPROVING STIPULATION
                       DISMISSING COMPLAINT WITHOUT PREJUDICE

                  Upon certification of counsel for the above-captioned debtor (the “Debtor”) for

entry of an order approving the Stipulation Dismissing Complaint Without Prejudice (the

“Stipulation”)2 between the Debtor and Defendant; and after due deliberation, it appearing that

sufficient cause exists therefor,

                  IT IS HEREBY ORDERED THAT:

                  1.       The Stipulation attached hereto as Exhibit 1 is approved.

                  2.       The Court retains jurisdiction to hear all disputes arising from the

implementation of this Stipulation.

1
     The last four digits of the Debtor’s federal taxpayer identification number are 6978. The Debtor’s service
     address is: 75 State Street, 18th Floor, Suite 1805, Boston, MA 02109.
2
     Capitalized terms not defined herein have the meanings set forth in the Stipulation.


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Dated: December __, 2018


                                        THE HONORABLE KEVIN J. CAREY
                                        UNITED STATES BANKRUPTCY JUDGE




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                            EXHIBIT 1




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    TINTRI, INC.,                                               Case No. 18-11625 (KJC)

                         Debtor.1




    TINTRI, INC.

                         Plaintiff,

         v.                                                     Adv. No. 18-50927 (KJC)

    DASHER TECHNOLOGIES, INC.,

                         Defendant.


                  STIPULATION DISMISSING COMPLAINT WITHOUT PREJUDICE

             Tintri, Inc., (the “Plaintiff”) and Dasher Technologies, Inc. (the “Defendant” and,

together with Plaintiff, the “Parties”) hereby stipulate and agree as follows:

             1.      Within five business days of entry of a Court order approving this stipulation,

Defendant shall wire $38,400.00 to Tintri.

             2.      Upon the entry of an order of the Court approving this stipulation and Tintri’s

receipt of the $38,400.00 referenced in the foregoing paragraph in good funds, the above-

captioned adversary proceeding shall be deemed dismissed without prejudice.

             3.      Except as specifically set forth herein, all rights, claims, and defenses of the

Parties are fully preserved.


1
     The last four digits of the Debtor’s federal taxpayer identification number are 6978. The Debtor’s service
     address is: 75 State Street, 18th Floor, Suite 1805, Boston, MA 02109.

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Dated: December 18, 2018                             Dated: December 18, 2018

ASHBY & GEDDES, P.A.                                 PACHULSKI STANG ZIEHL & JONES LLP

 /s/ Benjamin W. Keenan                               /s/ Colin R. Robinson
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E-Mail: bkeenan@ashbygeddes.com
                                                     Counsel to Tintri, Inc.
-and-

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